Case 2:10-cv-08888-CJB-JCW Document 79350 Filed 04/20/11 Page 1 of 2

IN RE: OIL SPILL by “Deepwater Horizon”
DIRECT FILING SHORT FORM' “AS.

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc tl ws
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and gar y:
MDL 2178

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By submitting this document, | am n asserting a claim in Complaint and Petition of Triton Asset Leasirig 6 fizet
al, No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et af, in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (*B1 Bundle”) filed in MBL No. 2179 {10 md 2179); and/or intervene

into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

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Attorney Name

Firm Name
Address City / State / Zip
Phone Number E-Mail Address —

Claim filed with BP?

YES NO CI > Claim Filed with GCCF?: YES rl NO Cl

If yes, BP Claim No.: If yes, Claimant Identification No.:

Claim Type (Please check all that apply):

O Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
a Loss of Subsistence use of Natural Resources
Removal and/or clean-up costs

Other:

Earnings/Profit Loss
Personal Injury/Death

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' This farm should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Ree. Doc. 982 in MDL
2179), the fiting of this form in CA, No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179, Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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